Case 8:19-bl<-01506-RCT Doc 4 Filed 02/25/19 Page 1 of 2

Fi|| in this information to identify your case:

centum John C. Bodziak

First Narsve Midd\e Name Last Nama

Debtor 2
(Spouse, if filing) Firsr Narne Middre Name

 

united Srares Bankruprcy Courr forrhe; |Vliddle District of Florida

case number E] check nims is an
("“"°‘”“) amended filing

 

 

Official Form 108
Statement of Intention for lndividuals Filing Under Chapter 7 1215

lf you are an individual filing under chapter 7, you must fill out this form if:
l creditors have claims secured by your property, or
l you have leased personal property and the lease has not expired.

You must fate this form with the court within 30 days after you tile your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

lt two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

 

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number ¢if known).

m Llst Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedul'e D: Credr`tors Who Have Clar'ms Secured by Property (Ofticial Form 1060}, till in the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?

Creditor“s .

namer Bank of Amerrca, N.A. n S“"e"de"he p'°PE“V' § N°

_ l:l Retain the ro ert and redeem it. Yes

Desm-r,tion of 215 Nrna Srreet, NE a y p p y _
propeny St_ petersburg Fr_ 33704 Retarn the'property and enter into a
Sewrjrrg debt Reati‘irmatron Agreement_

m Retain the property and [explain]: Seek
possible loan modification

Credilor’s

namer Seiect Portfo|io Servicing n S""e"derthe Pr°pe"y' n N°
215 N, St t NE [] Retain the property and redeem it. § Yes

Deson'ption of ina rea _ _

property St_ petersburg r-_~L 33704 El Retafrfn the_property and enter into a

securing debl: Rea rrmatron Agreement.

m Retain the property and [exp|ain]: Seek
possible loan modification

Creditor's

namer Department of Treasury n S“"e"der the P’°Pe"*y- m NO
_ El Retain the property and redeem it. [I Yes

Descn'ption of 215 Nlna Street _ _

property St petersburg Fr_ 33704 El Relarn the property and enter into a

secuan debt: l ’ Reati'irmation Agreement.

g Retain the property and [exp|ain]:
Seek to make payments

Creditor‘s

name City of St. Petersburg m S“"e“derthe Pr°Pe"¥- n NO
. l:l Retain the property and redeem it. M Yes

Description of 215 Nlna Street n R _ _

property St_ petersburg FL 33704 Retaln the_property and enter lnto a

securing debt: eafr?rmatron Agreemerrt.

m Retain the property and {exp|ain}:
Seek to make payments

thcia| Form 108 Statement of lntention for lndividuals Filing Under Chapter 7 page 1

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nebrm John C- Bodziak Case number (rrknown)

 

 

Firsl Name Middle Name Leet Name

List Your Unexpired Personal Froperty Leases

 

For any unexpired personal property lease that you listed in Schedul'e G.' Executory Contracts and Unexpl'red Leases (Offlcia| Form 1066),
fill in the information below. Do not list real estate leases. Unexpr`red leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2l.

Describe your unexpired personal property leases Will the lease be assumed?

Lessor‘s name: El No
a Yes

Description of leased

property:

Lessor’s name: m No
El Y

Description of leased es

properly

Lessor’s name: i;| No

Description of leased El Yes

property:

Lessor's name: [| No
m ¥es

Descn`ption of leased

property:

Lessor's name: l;l No
l;l Yes

Description of leased

property:

i_essor’s name: C| No

. . n ¥es

Descrrptron of leased

property:

Lessor's name: [;] No
n Ves

Description of leased
property:

 

Under penalty of perjury, l declare that| have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

 

 

x fsi John C. Boctziak x
Signature of Detnor1 Signature of Debtor 2
gate 02/25)'2019 gate
MMr on r ww MMr nor ww

Ofiiciai Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

